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 IT IS ORDERED as set forth below:



 Date: November 5, 2018
                                                  _____________________________________
                                                              James R. Sacca
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________




                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

  IN RE:                                      )      CHAPTER 13
                                              )
  MICHELE SMITH,                              )      CASE NO: 18-68420-JRS
                                              )
         Debtor/Movant.                       )

           INTERIM CONSENT ORDER ON MOTION TO IMPOSE STAY
              IMPOSING STAY AS TO WELLS FARGO BANK, N.A.

         This matter is before the Court on Debtor’s Motion to Impose the Automatic Stay

  pursuant to 11 U.S.C. § 362(c)(3)(A) filed on November 3, 2018 (the “Motion”). The

  hearing on the Motion was scheduled on an expedited basis for November 5, 2018 at

  10:00 am. Upon consent of the undersigned parties it is hereby
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         ORDERED, that the stay of 11 U.S.C. § 362 shall be imposed as Wells Fargo

  Bank, N.A., its successors and assigns, (hereinafter “Wells Fargo”) regarding real

  property located at 3783 CRESS WAY DRIVE, DECATUR, GEORGIA 30034 until

  further Order of the Court. It is

         FURTHER ORDERED that beginning December 1, 2018, Debtor shall timely

  remit the regular monthly post-petition mortgage payments on Wells Fargo’s loan as they

  become due. Payments should be sent to Wells Fargo Bank, N.A., One Home Campus,

  Attn: Bankruptcy Payment Processing, MAC # X2302-04C, Des Moines, IA 50328, or to

  such address as may be designated.

         FURTHER ORDERED that for a period of two (2) years from entry of this Order,

  should Debtor default in payment of any sum specified herein or should the underlying

  bankruptcy case be dismissed, the Court may enter an Order lifting the automatic stay

  and granting relief to Wells Fargo on its collateral pursuant to 11 USC §362(d)(4)(B)

  without further notice or hearing. Should Debtor default in any regular monthly

  mortgage payments which come due according to Wells Fargo’s underlying Security

  Instruments beginning December 1, 2018, then upon notice of default sent by first class

  mail to Debtor and Debtor’s attorney, and failure of Debtor to cure such default within

  ten (10) days from the date of receipt of such notice, Wells Fargo may file a motion and

  affidavit of default with the Court, with service upon Debtor and Debtor’s attorney, and

  the Court may enter an Order modifying the automatic stay pursuant to 11 USC

  §362(d)(4)(B) without further notice or hearing.

         FURTHER ORDERED that should the instant bankruptcy case be dismissed

  within the period of two (2) years from entry of this Order, Wells Fargo is permitted to
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  submit an Order granting relief pursuant to 11 USC §362(d)(4)(B) as to its collateral at

  3783 CRESS WAY DRIVE, DECATUR, GEORGIA 30034.

         FURTHER ORDERED that upon completion of any foreclosure sale, any funds

  in excess of the amount due to Wells Fargo under its security instruments, and to any

  subordinate lienholder(s) properly entitled to receive proceeds under applicable State

  Law, shall be paid to the Trustee for the benefit of the Estate.

         FURTHER ORDERED that in the event the Debtor defaults in performance of

  this Order and the Court enters an Order modifying the automatic stay, the Trustee shall

  cease funding the balance of Wells Fargo’s forthcoming pre-petition arrearage claim

  and/or supplemental claim, if any.

                                    END OF DOCUMENT

  Prepared by:

  _____/s/___________________
  Michael R. Rethinger
  Georgia Bar Number 301215
  Attorney for Debtor
  241 Mitchell Street, SW
  Atlanta, GA 30303
  michael@rethingerlaw.com


  Consented to by:

  _____/s/___________________
  Michelle Hart Ippoliti
  Georgia Bar Number 334291
  Attorney for Wells Fargo Bank, N.A.
  McCalla Raymer Liebert Pierce, LLC
  1544 Old Alabama Road
  Roswell, GA 30076
  Michelle.Ippoliti@mccalla.com


                              (Signatures continued on next page)
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  No Opposition to by:

  _____/s/___________________
  Maria Joyner
  Georgia Bar Number 118350
  Attorney for Trustee
  Nancy J. Whaley, Standing Ch. 13 Trustee
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  Suite 120, Suntrust Garden Plaza
  Atlanta, GA 30303
  mjoyner@njwtrustee.com

                                  DISTRIBUTION LIST

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  Shapiro, Pendergast and Hasty
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  Atlanta, GA 30346

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  Default Document Processing
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